Case. 2:08-cr-00458- GAR ‘Document 9. Filed 04/03/08... Page 1 of 1. Page.ID #:31

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SY.
UNITED STATES DISTRICT COURT L 4%
CENTRAL DISTRICT OF CALIFORNIA

CASE NUMBER

UNITED STATES OF AMERICA, PLAINTIFF 0) 8. Q 3} 1 6 1

V.
/ REPORT COMMEN CIN G 3 CRIMINAL
, ACTION

 

bvvlyn Relao

DEFENDANT(S).

TO: CLERK’S OFFICE, U. S. DISTRICT COURT
.7 a

All items are to be completed. Information not applicable or unixown will be indicated as “N/A”.
(AM /CI PM

1. Date and time of arrest H|3|0% ly AM
2. Charges under which defendant has been booked at Metropolitan Detention Center (MDC):

Tk & 31324

Offense charged is a: [i Felony Minor Offense Petty Offense [1 Other Misdemeanor

USS. Citizen: res C1 No Unknown _.

Year of Birth: l : 5 (
The defendant is: resently in custody on this charge.

C1 At liberty on bond posted before a Magistrate Judge.
0 At liberty and warrant is requested.

C1 Federal - In custody on another conviction.

C1 State - In custody awaiting trial on these charges.

Dwep w

 

7. Place of detention (if out-of-district):

8. Date detainer placed on defendant:
9. This is a reprosecution of previously dismissed charges. (Docket/Case No.

10. Name of Pretrial Services Officer: __ Duc A C wa

11. Remarks (if any):

12. Date: . KY 3 L d § 13. signature thle CAA | a

14. Name: 15. Title:

 

 

CR-64 (07/05) REPORT COMMENCING CRIMINAL ACTION
